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             EXHIBIT 5
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          TRIAL VISUAL DEMONSTRATIVES OF THE MELODIES AT ISSUE




                              THE MELODIES AT ISSUE

“Melody A”

1.    “Melody A” as transcribed by Dr. Stewart




**Dr. Stewart halves the note values in LGO and bases his transcription of LGO on the
LGO sound recording. He also adds a grace note before the F# (at the lyric “work”) of
the TOL melody which is not in the TOL sound recording and not in the TOL published
sheet music.

Corrected comparative transcriptions that I have prepared, numbered 1.1 to 1.3, follow
as described below.

In each of the 3 corrected comparative transcriptions:

The top staff is LGO/Dep. Copy:          bars 1-4

The bottom staff is TOL/Sheet Music:     bars 1-4

The 1.1 transcriptions have LGO Deposit Copy note values without scale degrees

The 1.2 transcriptions have LGO note values halved, without scale degree #’s

The 1.3 transcription is the same as the 2.2 transcriptions but with scale degrees #’s




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1.1 (without chord symbols)




1.1 (with chord symbols)




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1.2 (without chord symbols)




1.2 (with chord symbols)




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1.3 (without chord symbols but with scale degrees)




                                                                          4
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“Melody B”

2.     “Melody B” as transcribed by Dr. Stewart




**Dr. Stewart halves the note values in LGO and bases his transcription of LGO on the
LGO sound recording. He also adds a grace note at the beginning of the TOL melody
which is not in the TOL sound recording and not in the TOL published sheet music.




Corrected comparative transcriptions, that I have prepared, numbered 2.1 to 2.3, follow.




In each of the 3 corrected comparative transcriptions:

The top staff is LGO/Dep. Copy:           bars 110-113

The bottom staff is TOL/Sheet Music: bars 25-27, at the bottom of p. 3




The 2.1 transcriptions have LGO Deposit Copy note values without scale degrees

The 2.2 transcriptions have LGO note values halved, without scale degree #’s

The 2.3 transcriptions are the same as the 2.2 transcriptions but with scale degrees #’s

The 2.4 transcriptions are the same as the 2.3 transcriptions but aligned



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2.1 (without chord symbols)




2.1 (with chord symbols)




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2.2 (without chord symbols)




2.2 (with chord symbols)




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2.3 (without chord symbols but with scale degrees)




2.3 (with chord symbols and with scale degrees)




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2.4 (without chord symbols but with scale degrees)




2.4 (with chord symbols and with scale degrees)




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“MELODY C”

3.     The opening melody of Verse 2 in LGO and the melody in the Interlude of TOL.

Dr. Stewart halves the note values in LGO and bases his transcription of LGO on the
LGO sound recording. He also misaligns the chord symbols and the melody in the LGO
transcription.




Corrected comparative transcriptions, that I have prepared, numbered 3.1 to 3.3, follow.




In each of the 3 corrected comparative transcriptions:

The top staff is LGO/Dep. Copy:          bars 33-40

The bottom staff is TOL/Sheet Music:     bars 38-39, at the bottom of p. 4




The 3.1 transcriptions have LGO Deposit Copy note values without scale degrees

The 3.2 transcriptions have LGO note values halved, without scale degree #’s

The 3.3 transcription is the same as the 2.2 transcriptions but with scale degrees #’s




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3.1 (without chord symbols)




3.1 (with chord symbols)




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3.2 (without chord symbols)




3.2 (with chord symbols)




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3.3 (without chord symbols but with scale degrees)




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4.    The LGO “hook” melody and the opening melody in TOL as transcribed by Dr.
Stewart




**Dr. Stewart halves the note values in LGO and bases his transcription of LGO on the
LGO sound recording. He also misaligns the melodies in terms of metric positions. He
does not include chord symbols.




Corrected comparative transcriptions that I have prepared, numbered 4.1 to 4.3, follow
as described below




In each of the 3 corrected comparative transcriptions:

The top staff is LGO/Dep. Copy: pickup to bar 25 through bar 29

The bottom staff is TOL/Sheet Music:     bars 1-4




The 4.1 transcriptions have LGO Deposit Copy note values without scale degrees

The 4.2 transcriptions have LGO note values halved, without scale degree #’s

The 4.3 transcription is same as the 2.2 transcription but with scale degrees #’s



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4.1 (LGO Deposit Copy note values)




4.2 (LGO note values halved)




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4.3 (LGO note values halved with scale degrees)




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